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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                 18-cr-286 (ADM/DTS)


 UNITED STATES OF AMERICA.                           SUPERSEDING INDICTMENT

                        Plaintiff,                    l8 u.s.c. $ l03s
                                                      r8   u.s.c. $ 1343
         V.                                           l8 U.S.C. $ e8l(a)(1)(c)
                                                     28 U.S.C. $ 2a61(c)
 SHERI MAzuE LEMMA,
   a/k/a Sheri Marie Cindrich,

                        Defendant.

         THE, LTNITED STATES GRAND JURY CHARGES THAT:

                                      INTRODUCTION

         1.     From in or about December 2014 through in or about September 2018, the

defendant, SHERI MARIE LEMMA            ("LEMMA"), falsely claimed    she was unable to   work

as a result   of an on-the-job injury as a mail carrier for the United States Postal Service

("USPS"). As a result of her false claims, LEMMA fraudulently obtained more than

$100,000 in disability and medical benefits to which she was not entitled.

         2.     At times relevant to the Superseding Indictment:

                a.     Defendant SHERI MARIE LEMMA was employed as a mail carrier

for the llnited States Postal Service ("IJSPS").

                b.     The Federal Employees' Compensation Act ("FECA") provided fbr

the payment of disability compensation to disabled federal employees who are injured on

the   job, including employees of the United States Postal Service. FECA also provided

payment for the medical costs        of disabled federal employees. FECA payments         were
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                                                                                          DEC    12   2019

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generated by the United States Treasury Department and paid from the budget          of the

disabled employee's agency.

               c.      The United States Department of Labor's Office          of Workers'
Compensation Programs (the "OWCP") administered FECA. The OWCP relies on doctors

to determine if a claimant can return to work and under what restrictions, if any.

               d.      Federal regulations required individual claimants receiving FECA

payments to report to their physician and the OWCP any improvement in their medical

condition that allows them to engage in any type of work activity. FECA claimants are

expected to return to   work-including light duty or part-time work, if available-if they

are no longer totally disabled because of their injury.

               e.      While working for the United States Postal Service, LEMMA

reported multiple on-the-job injuries. For each of these reported injuries, LEMMA sought

and obtained FECA benefits.

               f.      In or about November 2014, LEMMA was offered and accepted a

modified job assignment which accommodated her claimed medical restrictions. However,

after the USPS denied LEMMA's request for holiday leave due to staffing needs, beginning

in or about December 2014, LEMMA                 stopped reporting for work. Instead, LEMMA

fraudulently sought and obtained FECA benefits for the period of December 22, 2014

onward, presenting doctor's notes indicating she should be off work pending an as-of-yet

unscheduled spinal surgery.
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                 g.     LEMMA did not return to work at all            in    2015 based on

misrepresentations she made regarding her physical condition, her modified job duties, and

her ability to work.

                 h.     In or about January 2016, LEMMA underwent spinal surgery. In or

around    April 2016, LEMMA      began physical therapy.

                 i.     By   September 2016,     LEMMA had still not returned to work. In

response to a direct inquiry by the USPS as to her status,    LEMMA fraudulently claimed

she had   only "finally" started physical therapy on September 12,2016.

                 j.     On or about November 2,2016, LEMMA's spine surgeon formally

authorized LEMMA to return to work with various work restrictions. The USPS offered

LEMMA a modified job assignment that conformed to the restrictions     set   forth by the spine

surgeon. LEMMA refused the modified job assignment.

                 k.     By in or around April 2017, LEMMA had still not returned to work

and continued to receive fraudulent FECA benefits. When LEMMA was informed her

benefits would be terminated       if   she did not return to work, LEMMA reported for two

modified job duty shifts in or around April 2017, but claimed to be unable to return to work

after the second shift due to pain.

                 l.     Continuing from in or around April 2017 and through September

2018, LEMMA continued to make material misrepresentations concerning her physical

abilities, modified job duties, and job restrictions in order to fraudulently obtain FECA

benef,rts to   which she was not entitled.
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                                          COUNTS 1-6
                                          (Wire Fraud)

       3.      Paragraphs    I and 2 are incorporated by reference as if fully set forth herein.

       4.      From in or about December 2014 through in or about September 20,2018,

in the State and District of Minnesota and elsewhere, the defendant,

                                  SHERI MARIE LEMMA,
                                  a/k/a Sheri Marie Cindrich.

knowingly and intentionally devised and executed a scheme and artifice to defraud and to

obtain money and property from the DOL and from USPS by means of false and fraudulent

pretenses, representations, and promises, and concealment of material facts.

       5.      It was part of the scheme         that LEMMA fraudulently obtained FECA

disability and medical payments by falsely reporting to her doctors and DOL her physical

capabilities such that she was physically unable to work. In reality, LEMMA was able to

dance at abar, attend school full time carrying bags and backpacks, and went on multiple

vacations, including an international cruise vacation in June 2017 , during which she walked

long distances, carried bags and backpacks, wore high heels, and swam with dolphins.

       6.      It was further part of the scheme to defraud that LEMNIA falsely reported

the nature of her modified job assignment to her doctors in order to continue fraudulently

to receive FECA disability and medical benefits. Specifically, LEMMA falsely told her

Spine surgeon and her primary care physician that she was being asked to perform duties

that conflicted with her restrictions. In reality, the USPS offered LEMMA a modified job

assignment in November 2014, and again in November 2016, that allowed her to work in
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a   manner consistent with her health limitations and the medical restrictions put in place by

her doctors.

           7.   It was further part of the scheme that as a result of her false statements,

LEMMA fraudulently received more than $100,000 in disability payments and more than

$15,000 in medical costs for injuries she claimed to have sustained while employed at

USPS.



           8.   On or about the dates set forth below. in the State and District of Minnesota

and elsewhere, the defendant,

                                  SHERI MARIE LEMMA,
                                  a/k/a Sheri Marie Cindrich,

for the purpose of executing and attempting to execute the above-described scheme and

artifice to defraud, knowingly transmitted and caused to be transmitted by means of wire

communications in interstate and foreign commerce, certain writings, signs, signals, and

sounds" as described below:

                Date of Wire
    Count       (on or about)                      Wire Communication
                                   Wire transfer of $2,681.16 from the U.S.  Treasury
       I          12t9t20r6        Department in Missouri to LEMMA's account at Wells
                                   Farso Bank in Minnesota
                                   Wire transfer of $2,681.16 from the U.S. Treasury
      2           U06120t7         Department in Missouri to LEMMA's account at'Wells
                                   Farso Bank in Minnesota
                                   Wire transfer of $1,448.02 from the U.S. Treasury
       a
       J         612312017         Department in Missouri to LEMMA's account at Wells
                                   Farso Bank in Minnesota
                                   Wire transfer of $1,469.08 from the U.S. Treasury
      4           7t7t20rl         Department in Missouri to LEMMA's account at Wells
                                   Farso Bank in Minnesota
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                Date of Wire
  Count         (on or about)                             Wire Communication
                                      Wire transfer of $2,889.07 from the U.S.  Treasury
     5            tU09l20l7           Department in Missouri to LEMMA's account at Wells
                                      Farso Bank in Minnesota
                                      Wire transfer of $3,114.76 from the U.S. Treasury
     6             8124120t8          Department in Missouri to LEMMA's account at Wells
                                      Farso Bank in Minnesota     ,




          All in violation of Title   18, United States Code, Section 1343.

                                                 COUNT 7
                       (False Statements Relating to Health Care Matters)

          9.     Paragraphs    I   through   9   are incorporated by reference as   if fully set forth
herein.

          10.    From on or about December 2014 through January 2016, in the State and

District of Minnesota. the defendant.

                                      SHERI MARIE T,EMMA,
                                      a/k/a Sheri Marie Cindrich,

did knowingly and     willfully make materially false, fictitious,    and fraudulent statements and

representations in connection with the delivery of and payment for health care benefits,

items, and services involving the United States Department of Labor Office of Workers'

Compensation Programs, a health care benefit program as defined              in 18 U.S.C.    $ 24(b).

These false statements include, but are not limited to, the following:

          Defendant's statements and representations made between in or around December

2014 and January 2016 regarding, among other things, her physical capabilities, her

modified job duties, and ability to work, knowing these representations were false; all in

violation of Title 18. United States Code, Section 1035.


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                                            COUNT     8
                       (False Statements Relating to Health Care Matters)

         1   1.   Paragraphs 1 through 10 are incorporated by reference as            if fully set
forth herein.

         12.      From on or about April 2016 through September 2017, in the State and

District of Minnesota, the defendant,

                                   SHERI MARIE LEMMA,
                                   a/k/a Sheri Marie Cindrich,

did knowingly and     willfully make materially false, fictitious,   and fraudulent statements and

representations in connection with the delivery of and payment for health care benefits,

items, and services involving the United States Department of Labor Office of Workers'

Compensation Programs, a health care benefit program as defined             in 18 U.S.C.   $ 24(b).

These false statements include, but are not limited to, statements made between              in or

around       April 2016 and September 2017 rcgarding, among other things, her physical
capabilities, her modif,red job duties, and. ability to work, knowing these representations

were false: all in violation of Title 18. United States Code, Section 1035.

                                            COUNT     9
                       (False Statements Relating to Health Care Matters)

        13.       Paragraphs 1 through 12 are incorporated by reference as            if fully   set

forth herein.

        14.       On or about October 24" 2017 " in the State and District of Minnesota. the

defendant,

                                   SHERI MARIE LEMMA,
                                   a/k/a Sheri Marie Cindrich,
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did knowingly and      willfully make materially false, fictitious,   and fraudulent statements and

representations in connection with the delivery of and payment for health care benefits,

items, and services involving the llnited States Department of Labor Office of Workers'

Compensation Programs, a health care benefit program as defined              in   18   ll.S.C. $ 24(b).

These false statements include, but are not limited to, statements made on October 24,

2017, during an interview related          to the receipt of her benefits under the Federal

Employees' Compensation Act, during which the defendant made materially false,

fictitious, and fraudulent statements and representations regarding, among other things, her

physical capabilities, her modified job duties; and ability to work, knowing these

representations were false; all in violation of Title 18, United States Code, Section 1035.

                                FORFEITURE ALLEGATIONS

       Counts 1 through 9 of this Superseding Indictment are incorporated herein by

reference for the pu{pose of alleging forfeitures pursuant to Title 18, United States Code,

Sections 981(a)(1)(C) and 982(a)(7), and Title 28, United States Code, Section 2a6l@).

       As a result of the offenses alleged in Counts      1   through 6,the defendant shall forfeit

to the United States pursuant to Title 18, United States Code, Section 981(a)(1)(C), and

Title 28, United States Code, Section 2461(c), any property, real or personal, which

constitutes or is derived from proceeds traceable to violations of Title 18, United States

Code, Section 1343.

       As   a result   of the offense alleged in Counts 7 through 9, the defendant shall forfeit

to the United States pursuant to Title 18, United States Code, Section 982(a)(7), any


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property, real or personal, that constitutes or is derived, directly or indirectly, from gross

proceeds traceable to the commission of the offense.

       If   any of the above-described forfeitable properfy is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

2l,United     States Code, Section 853(p), as incorporated by Title 28, United States Code,

Section 2461(c).

                                          A TRUE BILL




LINITED STATES ATTORNEY                              FOREPERSON




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